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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:00CR150
                              )
          v.                  )
                              )
CHRISTOPHER BLACK,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the motion of Cathy

R. Saathoff to withdraw as counsel (Filing No. 340).               The Court

finds said motion should be granted.          Accordingly,

           IT IS ORDERED that the motion is granted.             Cathy R.

Saathoff is deemed withdrawn as counsel of record for defendant.

           DATED this 20th day of July, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
